                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


BRANDON JAMES ISOM,                          )
                                             )
             Movant,                         )
                                             )
      v.                                     )   Case No. 11-4262-CV-C-NKL-P
                                             )   Crim. No. 09-04003-08-CR-C-NKL
UNITED STATES OF AMERICA,                    )
                                             )
             Defendant.                      )
                                             )
                                             )

                                        ORDER

      Pending before the Court is Brandon James Isom’s Motion to Vacate, Set Aside, or

Correct Sentence under 28 U.S.C. § 2255 [Doc. # 1]. For the reasons set forth below, the

Court denies the motion.

I.    Background

      On January 22, 2009, an indictment was returned charging Isom, and fifteen other

defendants, with various counts involving a drug conspiracy for the distribution of crack

cocaine and the conversion of powder cocaine into crack cocaine. On September 30,

2009, Isom pled guilty to one count of conspiracy to distribute more than fifty grams of

crack cocaine and marijuana, one count of knowingly firing a weapon into a group of two

or more persons, and one count of knowingly carrying and using a firearm for a crime of

violence. Subsequent to his guilty plea, counsel for Isom filed a motion to withdraw as

attorney and a motion to withdraw guilty plea.




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       On January 25, 2010, the Court denied Isom’s motion to withdraw guilty plea and

on April 9, 2010, the Court sentenced Isom to 242 months of imprisonment. On April 20,

2010, Isom appealed his sentencing. The Eighth Circuit dismissed the appeal on October

18, 2010, because Isom’s plea agreement waived his right to appeal. On September 26,

2011, Isom timely filed, pro se, a motion seeking to set aside his conviction under 28

U.S.C. § 2255 based on three theories of ineffective assistance of counsel.

       Isom claims that he received ineffective assistance of counsel for three reasons.

First, Isom argues his attorney should have filed a motion to suppress evidence that was

seized pursuant to a warrant issued without probable cause. Second, he should have

argued for a sentence below the guideline range that was included in the presentence

report under the authority of United States v. Booker, 543 U.S. 220 (2005). And he failed

to present a valid legal argument to support Isom’s motion to withdraw his guilty plea.

Isom claims that because his counsel failed in these three ways he was wrongfully

convicted and sentenced.

II.    Discussion

       A.     Evidentiary Hearing

       On a motion to vacate, a movant is entitled to an evidentiary hearing when the

facts alleged, if true, would entitle him to relief. See Payne v. United States, 78 F.3d 343,

347 (8th Cir.1996). However, a claim may be dismissed without an evidentiary hearing if

the claim is inadequate on its face. Id. Moreover, a district court need not hold an

evidentiary hearing in a section 2255 case when the files and records conclusively show

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that the movant is not entitled to relief. See Bradshaw v. United States, 153 F.3d 704, 708

(8th Cir.1998). After reviewing the records and files, the Court concludes that all three of

Isom’s claims can be fully and fairly evaluated on the existing record and that no

evidentiary hearing is necessary.

       B.     Legal Standard

       While a Sixth Amendment claim for ineffective assistance of counsel may be

raised under section 28 U.S.C. § 2255, “a movant faces a heavy burden.” United States v.

Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996). Relief under § 2255 “is reserved for

transgressions of constitutional rights and for a narrow range of injuries that could not

have been raised on direct appeal and, if uncorrected, would result in a complete

miscarriage of justice.” Id.

       In order to prevail on a claim of ineffective assistance of counsel, Isom must

prove that (1) his counsel’s representation was deficient and (2) that deficiency prejudiced

Isom’s case. Id. To prove that counsel was deficient, Isom must show that his counsel

“failed to exercise the customary skills and diligence that a reasonably competent attorney

would have exhibited under similar circumstances.” Id. (internal quotes omitted). To

prove prejudice, Isom must demonstrate that his counsel’s failure to exercise customary

skills resulted in a “reasonable probability that, but for counsel’s unprofessional errors,

the result of the proceedings would have been different.” Id. (internal quotes omitted).

       C.     Motion to Suppress Evidence



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       Isom argues that his counsel should have filed a pre-trial motion arguing that a

warrant lacked probable cause and that evidence found under the warrant should be

suppressed. Isom claims that under the standard in Illinois v. Gates, 462 U.S. 213, 230-

31 (1983), a neutral magistrate could not have found probable cause existed to issue a

warrant because the informant had not provided past reliable tips and the information was

not sufficiently detailed to prove its veracity.

       Isom first argues that evidence was seized pursuant to a warrant which lacked

probable cause and his attorney failed to file a motion to suppress the evidence. Because

Isom pled guilty, Isom cannot show prejudice from this alleged deficiency unless he

establishes a reasonable probability that he would not have pled guilty if his counsel had

filed a successful motion to suppress. See Premo v. Moore, 131 S. Ct. 733, 743 (2011).

Isom fails to specify what evidence would have been suppressed if the motion had

succeeded, or how that suppression affected the charges against him and his ultimate

decision to plead guilty. Isom merely concludes that the motion “might have succeeded”

and that there is a reasonable probability that the outcome of the proceedings would have

been different. [Doc. # 1 at 5]. However, even if the evidence from the warrant were

thrown out, Isom has not argued that evidence from co-conspirator statements, testimony

by drug users and witnesses, and a wiretap would also have been excluded. [Case No.

2:09-cr-04003-NKL; Doc. # 392]. Isom has failed to prove that suppression of the

warrant would establish a reasonable probability that he would not have pled guilty in



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light of the other evidence against him. Isom has thus failed to demonstrate prejudice and

cannot establish a claim of ineffective assistance of counsel.

       D.     Motion for a Sentence Below the Guideline Range

       Isom claims that his counsel should have argued for a sentence below the guideline

range under United States v. Booker, 543 U.S. 220 (2005). However, Isom has not

shown that his counsel failed to argue for a sentence below the guideline range. First,

Isom’s counsel cited Booker in her sentencing memorandum and reminded the Court that

the Sentencing Guidelines were advisory. [Case No.2:09-cr-04003-NKL; Doc. # 547 at

2]. Second, Isom’s counsel argued that the Court had the authority to decline to apply the

sentencing requirements and only sentence Isom to 100 months on each offense, which

was lower then the suggested minimum of 240 months. Finally, Isom’s counsel argued

parts of her memorandum at the sentencing hearing, including arguing that Isom should

receive a lesser sentence because he was a minor participant in the conspiracy. [Case

No.2:09-cr-04003-NKL; Doc. # 547]. Therefore, Isom has failed to prove that his

counsel did not argue for a sentence below the guidelines range, let alone that counsel’s

conduct was deficient. Furthermore, the transcript of the sentencing hearing shows that

the Court was aware that the guidelines were advisory and clearly articulated its reasons

for imposing a sentence of 242 months. For that additional reason, Isom has not shown

prejudice.

       E.     Withdrawal of Guilty Plea



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       Isom argues that his counsel failed to make a legitimate argument in Isom’s motion

to withdraw his guilty plea. Isom acknowledges that his counsel filed the motion, but

claims that it was “factual and frivolous” and that his counsel should have argued that

Isom’s entry of a guilty plea was coerced by the ineffective assistance of his prior

counsel. [Doc. # 1 at 8]. A guilty plea may be withdrawn after the plea is accepted, but

before sentencing, if the defendant can show a “fair and just reason” for requesting the

withdrawal. FED. R. CRIM. P. 11(d)(2)(B).

       Isom has not proven that any deficiency in his counsel’s legal argument would

have been prejudicial. The Court considered Isom’s argument that his counsel coerced

him into pleading guilty when it considered Isom’s motion to withdraw his guilty Plea.

United States v. Isom, 2010 WL 386417 (W.D. Mo. 2010). The Court noted that Isom

signed the plea agreement on September 30, 2009, agreeing he had received effective

assistance, [Case No. 2:09-cr-04003-NKL; Doc. #381 at 17], and stated under oath that he

was satisfied with counsel, [Case No. 2:09-cr-04003-NKL; Doc. #446 at 12]. Id. The

Court then held that Isom’s argument that he had been coerced by his attorney was not a

“fair and just reason” for withdrawing his plea, stating that “when a defendant has entered

a knowing and voluntary plea of guilty at a hearing at which he acknowledged

committing the crime, the occasion for setting aside a guilty plea should seldom arise.”

Id. quoting United States v. Morrison, 967 F.2d 264, 268 (8th Cir. 1992). Therefore,

Isom cannot show prejudice and Isom’s claim for ineffective assistance of counsel fails

on this ground as well.

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III.   Certificate of Appealability

       A certificate of appealability will be issued “only if the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). For

the reasons set forth above, Isom has not made a substantial showing of the denial of a

constitutional right. Therefore, the Court does not issue a certificate of appealability here.

IV.    Conclusion

       Accordingly, it is hereby ORDERED that Brandon James Isom's Motion to

Vacate, Set Aside, or Correct Sentence under 28 U.S.C. § 2255 [Doc. # 1] is DENIED as

to his three claims of ineffective assistance of counsel.



                                                  s/ Nanette K. Laughrey
                                                  NANETTE K. LAUGHREY
                                                  United States District Judge
Dated: February 29, 2012
Jefferson City, Missouri




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